Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 1 of 10 Page|D: 688

 

 

NOT FOR PUI_}LICAT[ON
UNITED STATES DlSTRICT COURT
DlSTRICT OF NEW JERSEY

'I`AYLOR M. BALLARD,

Plaintiff, Civil Action No. 15-8808 (MAS) (LHG)

v. MEMORANDUM OPINION
AT&T MOBlLlTY, lNC., et al.,

Defendants.

 

 

SHIPP, District Judge

This matter comes before the Court on Plaintiff Taylor M. Ballard’s (“Plaintiff”) Motion
for Relief pursuant to Rule 60(b) (ECF No. 31) “to set aside order of dismissal."' (ECF No. 30).
Defendants AT&T Mobility, lnc. and AT&T Corp. (collectively, “Defendants”) filed opposition
and a cross-motion for sanctions under Federal Rule of Civi| Procedure l l (“Rule l l”). (ECF No.
34.) Plaintiff filed a reply in further support of her Rule 60 motion and in opposition to the cross-
motion. (ECF No. 41.) The Court has carefully considered the parties’ submissions and decides
the motions without oral argument pursuant to Local Civil Rule 78.1. For the reasons set forth
below, the Court denies Plaintiff’s motion for relief and denies Defendants’ cross-motion for

sanctions.

I. Background

Plaintiff initiated this action in the Superior Court of New Jersey, Monmouth County in

November 2015 alleging that she was subjected to sexual harassment while employed by

 

' In actuality, Plaintiff`s motion seeks to set aside entry of summary judgment in favor of
Defendants.

Case 3:15-cv-O8808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 2 of 10 Page|D: 689

Defendants2 Defendants removed the lawsuit to federal court in December 2015. (ECF No. l.)
On January 24, 2017, Defendants filed a Motion for Summary Judgment.3 (ECF No. 23.) Plaintiff
filed opposition (ECF No. 25) and Defendants replied (ECF No. 28). On August 25, 2017, the
Court granted summary judgment in favor of Defendants, finding that, based on the record before
the Court, Plaintifi’s allegations “amount[ed] to mere Workplace difficulties” (Aug. 25, 2017
Mem. Op. 20, ECF No. 29), and Plainti ff had not established constructive discharge or retaliation
(r'd. at 22-25). Plaintiff did not appeal to the Third Circuit.

Four months later, in December 2017, Plaintiff filed a motion under Rule 60(b) to set aside
the Court’s decision granting summary judgment, arguing that recent highly-publicized sexual
harassment allegations in the news, such as allegations against Harvey Weinstein_unrelated to
any of the parties involved in this lawsuit_warrants setting aside the Court’s August 2017r
summary judgment decision. (Pl.’s Moving Br., ECF No. 31.) Defendants filed opposition and a
cross-motion for sanctions under Rule ll and Plaintiff filed a reply in support of her Rule 60(b)
motion and opposition to Defendants’ Rule ll motion.

II. Plaintiff’s Rule 60 Motion

Under Federal Rule of Civil Procedure 60(b), courts have discretion to grant a party relief

from a final judgment, order, or proceeding See Shapiro v. Baker, 646 F. Supp. l 127, 1 128 n.l

(D.N.J. 1986) (citing Greco v. Reynolds, 416 F.2d 965 (3d Cir. 1969)). Rule 60(b) provides for

 

2 The detailed factual history was discussed at length in the Court’s August 25, 2017 Memorandum
Opinion (see ECF No. 29) and, as such, will be repeated here only to the extent necessary to decide
the instant motions.

3 Defendants initially moved for summary judgment on December 9, 2016 (ECF No.l4); however,
due to Defendants’ failure to include a statement of material facts not in dispute in accordance
with Local Civil Rule 56.1, the Court denied the motion without prejudice. (ECF No. 22.)

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 3 of 10 Page|D: 690

relief from a final judgment only in limited and extraordinary circumstances, such as mistake,
surprise, excusable neglect, newly discovered evidence, fraud, misrepresentation, or misconduct
by an opposing party. The Rule also contains a catchall provision for “any other reason that
justifies relief.” Fed. R. Civ. P. 60(b).

The Third Circuit has cautioned district courts that granting Rule 60(b) motions should be
reserved for extraordinary circumstances Budgel Blinds Inc. v. Whi!e, 536 F.3d 244, 255 (3d Cir.
2008); Ackermann v. Um`ted States, 340 U.S. 193, 198-99 (1950). Importantly, a Rule 60 motion
“may not be used as a substitute for an appeal.“ Um'ted Slates v. Fiore¢'li, 337 F.3d 282, 288 (3d
Cir. 2003); see also Fed. R. Civ. P. 60, Advisory Committee Note (A Rule 60(b) application “does
not extend the time for taking an appeal.”); Santiago-Gomez v. Chertojf, No. 06-3608, 2007 WL
1657353, at "‘4 (D.N.J. June 6, 2007) (“[C]ourts must be guided by ‘the well-established principle
that a motion under Rule 60(b) may not be used as a substitute for appeal.”’) (quoting
Martinez-McBean v. Gov’t of V.I., 562 F.2d 908, 911 (3d Cir. 1977)). Accordingly, where the
losing party fails to file a timely appeal, Rule 60(b) may not be used to circumvent filing
requirements or to receive additional time.

Essentially, Plaintift’s motion seeks relief on three separate grounds: (1) an alleged change
in society post-Weinstein (Pl.’s Moving Br. 1-17; Pl.’s Reply Br. 2-3, ECF No. 41); (2) Plaintiff's
disagreement with the Court’s prior decision (Pl.’s Moving Br. 9-23; Pl.’s Reply Br. 8-9, 1 1-26);
and (3) the Third Circuit’s decision in Moody v. All. City Bd. of Educ. , 870 F.3cl 206 (3d Cir. 2017),

which Plaintiff contends constitutes a change in the law (Pl.’s Reply Br. 7).

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 4 of 10 Page|D: 691

To the extent that Plaintist RuIe 60 motion simply disagrees with the Court’s prior
opinion," this is an impermissible basis for a Rule 60 motion and the motion is denied on this
ground. See Martine:-McBean, 562 F.2d at 911 (Rule 60 motion rejected Where movant “simply
challenge[d] [the] Court’s prior construction and attempt[ed] to relitigate the same facts and
application of the same law.”).

Next, Plaintiff`s argument that Moody presents grounds for granting her Rule 60 motion is
not persuasive. First, Moody is not a change in the law. 'I`he Third Circuit’s decision_issued a
week and a half after the Court’s decision here-reversed the District Court while applying well
settled legal principles to the specific facts of Moody, and did not change the law. Further, even if
Moody did constitute a change in the law, at the time Moody was decided, Plaintiff’s time to appeal
had not yet expired. In fact, Plaintiff was still within the fourteen-day period to file a motion for
reconsideration lf Plaintiff believed that Moody warranted a change in the outcome here, Plaintiff
could have moved for reconsideration or filed an appeal and a Rule 60(b) motion. See Schmidr v.
Schubert, 79 F.R.D. 128, 129 (E.D. Wis. 1978) (“Where [a change in applicable law] occurs prior
to the running of the time for appeal, the appropriate procedure is to file the notice of motion and
to file the Rule 60(b) motion with the district court prior to the running of the time for appeal. If
the district court believes that relief is appropriate under rule 60(b), it can request the appellate
court to remand the case.”) (emphasis added) (intemal citations omitted). Plaintiff’s motion on

this ground, therefore, is denied.

 

4 Plaintiff also argues that the Court incorrectly decided the motion for summary judgment because
Plaintiff presented sufficient evidence and the Court impermissibly made credibility
determinations (Pl.’s Moving Br. 9-12); issues of fact exist that should have been reserved for the
fact-finder (id. at 10-17); and the conduct at issue qualifies as harassment (ici. at 18-23).

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 5 of 10 Page|D: 692

Finally, Plaintiff argues that an alleged difference in society between the August 2017
decision and the December 2017 Rule 60 motion provides a basis for relief. In essence, Plaintiff
argues that highly publicized allegations related to Harvey Weinsten have changed “common
sense” so that whereas “[i]n 1982, common sense would tell us the average person does not have
the ability to transmit information by computer at home, in 2002, he does”; now, “post-Weinstein,
most public corporations can be assumed to have policies that actually implement and effectiver
prohibit and punish sexual harassment, [while] previously[, these] companies tolerated prohibited
acts.” (Pl.’s Moving Br. 8.) Plaintiff argues that “common sense” and “industry standards” have
changed between the time of the Court’s decision in August 2017 and Defendants’ motion in
December 2017 so that “[t]oday reasonable women believe they should not have to accept [the
conduct at issue].”5 (Id. at 9.) Plaintiff relies on the seminal Supreme Court constitutional cases
on interracial marriage, sodomy laws, and gay marriage to argue that changing societal norms
impact judicial decisions (Pl.’s Reply Br. 2-3), and the conduct alleged by Plaintiff “should be
sufficient to present an issue of fact” “[u]nder today’s standard” (ia’. at 10).

Defendants argue that Plaintiff’s motion is without any basis in law or fact as it completely
relies on inadmissible news stories, public sentiment, and the same arguments raised in opposition
to Defendants’ motion for summary judgment (Defs.’ Opp’n Br., ECF No. 34-1.) Defendants
also argue that Plaintiff is improperly attempting to “revive the appeal period.” (!d. at 2.)

The Court finds no basis here to grant Plaintiff’s Rule 60 motion. This is not “new
evidence.” Plaintiff’s sweeping assertions about the behavior of corporations before and after

allegations of sexual harassment about Harvey Weinstein are not only completely unsupported by

 

5 Plaintiff acknowledges that none of this evidence is admissible, but claims admissibility is
irrelevant because “[the information] helps supply a reasonable interpretation of the existing
evidence.” (td. at 9.)

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 6 of 10 Page|D: 693

any reliable citation,6 but none of the evidence is relevant to any of the parties here. The news
stories at issue would not have changed the Court’s decision and have no bearing on the Court’s
prior decision. Accordingly, the Court finds that Plaintiff has not set forth any valid basis to grant
relief under Rule 60. Plaintiff’ s motion, therefore, is denied.
III. Rule 11 Motion for SlLlctions

A. Background

Defendants cross-moved for sanctions against Plaintiff for filing the Rule 60(b) motion.
Defendants argue that Plaintiff" s motion is completely frivolous and was “brought for an improper
purpose, namely, to increase the expense of this terminated litigation and extend the appeal
period.” (Defs.’ Opp’n Br. 2, 10.) According to Defendants, Plaintist arguments are not
warranted by existing law or a nonfrivolous argument to modify the law, and Plaintiff has not
presented any “argument for why the Court should reassess its ‘judgment and experience’ from
four months ago because of a news story that has nothing to do with Plaintif .” (Id. at 10-12.)
Defendants ask that the Court award Defendants their legal fees in opposing the Rule 60 motion
and making the Rule ll motion."' (Id. at 15.)

In opposition, Plaintiff argues that the motion is not frivolous because Plaintif “relies upon

a recent Third Circuit decision supporting the position espoused on [the Rule 60] motion.” (Pl.’s

 

6 Plaintiff essentially asks the Court to infer from timely responses to recent sexual harassment
allegations by certain corporations_which are unaffiliated with Defendants_that all corporations
previously failed to take sexual harassment seriously, and there has been a sudden, sweeping
change in the responses by corporations

7 Plaintiff does not dispute Defendants’ assertion that they complied with Federal Rule of Civil
Procedure ll(c)(2) and provided Plaintiff with 21 days to withdraw the Rule 60 motion before
filing this cross-motion With the Court. (Defs.’ Opp’n Br. 5-6 n.2.)

6

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 7 of 10 Page|D: 694

Reply Br. 27.) In support of Plaintiff’s claim that Rule l 1 sanctions are inappropriate, Plaintiff
essentially argues that the Court was incorrect in its initial decision:

We respectfully disagree that the combination of pomography,

comments about Plaintiff’s breasts, false comments about her

having sex with a co-worker, regular discussions of the sexual

desirability of women customers and co-workers, with management

aware of the conduct and ignoring it or blaming Plaintiff for its

occurrence, cannot be said to constitute a hostile work environment,

and that putting forth a good faith argument it does based upon law

in this state and Circuit is frivolous
(Id. at 27.) Plaintiff also argues that Defendants’ “somewhat convoluted argument about an
appeal” does not render Plaintiff’s motion frivolous (Id. at 28.) Plaintiff, therefore, asks the Court
not to impose sanctions

B. Discussion
Rule l l requires that all submissions to the Court must be “warranted by existing law or a

nonfrivolous argument for extending, modifying, or reversing existing law or for establishing new
law.” Fed. R. Civ. P. ll(b)(2). The Rule “authorizes imposition of sanctions upon the signer of
any pleading, motion or other paper that was presented for an improper purpose.” Martin v. Brown,
63 F.3d 1252, 1264 (3d Cir. 1995). Bad faith is not required for a sanction to be appropriate !d.
The Rule imposes an obligation on counsel and client analogous to the railroad crossing sign,
“Stop, Look and Listen.” It may be rephrased, “Stop, Think, lnvestigate and Research” before
filing papers Gar'ardo v. Ethyl Corp., 835 F.2d 479, 482 (3d Cir. 1987). Any sanction imposed
under Rule 1 l “must be limited to What suffices to deter repetition of the conduct.” Fed. R. Civ. P.
l l(c)(4).

The test for whether a Rule 1 l motion should be granted is objective reasonableness under

the circumstances Bus. Gutdes, Inc. v. Chromatic Comnnms. Enters., Irtc., 498 U.S. 533, 550-51

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 8 of 10 Page|D: 695

(1991).8 The Third Circuit defines reasonableness as “‘objective knowledge or belief at the time
of the filing of the challenged paper’ that the claim was well-grounded in law and fact.” Magerman
v. Mercer, No. 17-3490, 2018 WL 684806, at *3 (E.D. Pa. Feb. 2, 2018) (quoting Ford Motor Co.
v. Summit Motor Prod., lnc., 930 F.2d 277, 289 (3d Cir. 1991)). “An attorney can be sanctioned
for both bad faith, negligence, and ‘to some extent, [] professional incompetence.”’ Shenango Inc.
v. Massey Coat Sa!es Co., No. 08-199, 2009 WL 2901296, at *6 (D.N.J. Sept. 10, 2009) (citing
Gaiardo v. Ethyl Corp., 835 F.2d 479, 482 (3d Cir. 1987)). “There is no room for a pure heart,
empty head defense under Rule 11.” Lieb v. Topstorre !ndus., 788 F.2d 151, 157 (3d Cir. 1986)
(citation omitted). Graco, ]nc. v. PMC Giob., Inc., 201 l WL 666048, at *35 (D.N.J. Feb. 14, 201 l.)
When a motion for sanctions is made separately from other motions, and the party follows the
procedures set forth in the rule, the court may award the prevailing party reasonable expenses and
attorney’s fees incurred in presenting or opposing the motion. Fed. R. Civ. P. 11(c)(2). “Absent
exceptional circumstances a law firm must be held jointly responsible for violations committed
by its partner, associate, or employee.” Id.

The Third Circuit has also warned that “the target is abuse_the Rule must not be used as
an automatic penalty against an attorney or a party advocating the losing side of a dispute.”
Gaiara'o, 835 F.2d at 482. Rule ll is intended to impose sanctions “only in the ‘exceptional
circumstance,’ where a claim or motion is patently unmeritorious or frivolous.” Doering v. Union
Cty. Bd. of Chosen Freehoiders, 857 F.2d 191, 194 (3d Cir. 1988) (internal citation omitted); see

also Bensalem Twp. v. lot ’1 Sarplas Lines !ris. Co., 38 F.3d 1303, 1314 (3d Cir. 1994); Magerman,

 

8 See also Ario v. Underwriting Members of Syndicate 53 at Lloyds, 618 F.3d 277, 297 (3d Cir.
2010), as amended (Dec. 7, 2010); Martin v. Brown, 63 F.3d 1252, 1264 (3d Cir. 1995); Shenango,
Inc. v. Massey Coal Sales Co., No. 08-199, 2009 WL 2901296, at *6 (D.N.J. Sept. 10, 2009);
Goodman v. Goadman, 2007 WL 748445, at *2 (D.N.J. Mar. 6, 2007).

8

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 9 of 10 Page|D: 696

2018 Wl_. 684806, at *3. “And even where such exceptional circumstances exist, the court is
merely authorized, not required, to impose sanctions.” Gon:ale: v. Busy Ptace Early Learning
Ctr., No. 14-6349, 2015 WL 5679887, at *5 (D.N.J. Sept. 25, 2015) (citing Bensalem Twp., 38
F.3d at 1314). Importantly, “thc rule is not intended to chill an attomey’s enthusiasm or creativity
in pursuing factual or legal theories.” Gaiardo, 835 F.2d at 483. “The Rule should not be applied
to adventuresome, though responsible, lawyering which advocates creative legal theories.”
Pensiero v. Lingle, 847 F.2d 90, 94 (3d Cir. 1988). “The Rule seeks to strike a balance between
the need to curtail abuse of the legal system and the need to encourage creativity and vitality in the
law.” Gaiardo, 835 F.2d at 483-84. The creativity, however, “must be in service of a good faith
application of the law or at least a good faith request for a change in the law.” !d. at 484. “The
purpose of the rule is simple: to discourage pleadings that are frivolous, legally unreasonable, or
without factual foundation.” Matthews v. Freedman, 128 F.R.D. 194, 197 (E.D. Pa. 1989) (aj"d,
919 F.2d 135 (3d Cir. 1990)).

After careful review of the filings the Court is not persuaded that the motion was so
frivolous as to warrant sanctions and, therefore, denies Defendants’ motion. Although the Court
declines to find that Plaintiff’s counsel’s conduct violated Rule l 1, the Court cautions that this was
not an easy decision. Counsel’s filing bordered on frivolous, considering the relevant case law and
the circumstances of the litigation. While the Court’s decision ultimately reflects the policy
consideration that Rule ll sanctions should not “chill” an attorney from making a creative
argument, Plaintiff’s argument bordered on “precisely the sort of ‘creativity’ Rule 1 1 should chill.”
Pawlowske v. Chrysler Corp., 623 F. Supp. 569, 573 (N.D. Ill. 1985) (granting motion for

sanctions where the court found that plaintist “creativity“ was not a good faith application of the

Case 3:15-cv-08808-|\/|AS-LHG Document 42 Filed 07/11/18 Page 10 of 10 Page|D: 697

law or request for a change in the law.) The Court, therefore, denies Defendants’ motion for
sanctions but cautions counsel to carefully consider future filings

IV. Conclusion

For the reasons set forth above, it is hereby ordered that Plaintiff’s Rule 60(b) motion is
denied and Defendants’ Rule 11 motion is denied. An order consistent with this Memorandum

Opinion will be entered.

/¢L£#¢H‘

MICHAEL A. 'Si'nPP
UNlTED STATES Dis'rnlCT JUDGE

Dated: July f(_, 2018

10

